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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


         UNITED STATES, et al.,                        )
                                                       )
                        Plaintiffs,                    )
                 v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                                       )
         GOOGLE LLC,                                   )
                                                       )
                        Defendant.                     )




        PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY IN FURTHER
      RESPONSE TO DEFENDANT’S MOTION TO DISMISS THE UNITED STATES’
             DAMAGES CLAIM AND TO STRIKE THE JURY DEMAND

         Plaintiffs respectfully move for leave to file a sur-reply in further response to Defendant’s

  Motion to Dismiss the United States Damages Claim and to Strike the Jury Demand. The

  grounds for this motion are set forth in the accompanying memorandum of law. A proposed

  order is attached.
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  Dated: June 5, 2024

  Respectfully submitted,

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